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                                                                                     UNITED             STATES      BANKRUPTCY                     COURT                                       UNITED     STATES
                                                                                                                                                                                         BANKRUPTCYCOURT
                                                                                                       DISTRICT          OF ARIZONA                                                  FOR THE DISTRICT OF ARIZONA


 In re
                 DONDRA                  MAZA
                 ARMANDO                  MANUEL          MAZA                                                                         BANKRUPTCY          CASE    NO.               02@,


                                                    Debtor(s)



                                                                               DECLARATION                      RE: ELECTRONIC                         FILING

PART I                -       DECLARATION                 OF PETITIONER:

           I   [We]                MAZA  DONDRA      and            ARMANDO      MANUEL       MAZA             the undersigned   debtor(s), corporate officer or
partnership                   member,    hereby                                -
                               declare under penalty of t)ejprv that the information     I
                                                                                           have given my attorney and the information,                -,
                                                                                                                                            including social
security numbers, provided in the completed      petition, lists, statements and schedules is true and correct. I have reviewed and signed each of the
foregoing completed documents       and my attorney has provided me with a signed copy of each to retain for my records. I consent to my attorney
electronically filing the completed petition, lists, statements    and schedules with the United States Bankruptcy     Court. I understand    that this

DECLARATION          RE: ELECTRONIC          FILING is to be filed with the Clerk after all schedules and statements have been filed electronicalk           bill. in
no event, no later than 20 days after the date the petition was filed or, in the event an extension    has been granted, no later than 5 days after the
schedules and statements                        are filed.   I    understand       that failure        to file the signed         original   of this DECLARATION            will   cause my case to be dismissed
without further notice.


           0          [If petitioner       is an individual          debts are primarily consumer debts and has chosen to file under chapter 7] 1 am aware that I may
                                                                      whose
proceed under chapter                     7, 11, 12, or      of I I United States Code, understand the relief available under each such chapter, and choose to proceed
                                                                 13


                                                                     with the chapter specified in the petition.
under chapter 7. 1 re
                                1Z        est relief in accordance

 DATED:                                        'O   1-\



 Signed:
                                                                                                                                                                                   MAZA
                               D



                                                                                                   (If joint case, both spouses must sign)




                                                                Authorized         Corporate Officer or Partnership                     Member


PART             11
                          -   DECLARATION                    OF ATTORNEY:

        declare as follows:
           I                        The debtor(s)    will have signed this form before I submit the petition,         schedules and statements.          I
                                                                                                                                                           will give the
debtor(s) a copy of all forms and information         to be filed with the United States Bankruptcy     Court and have compli       vith    all   other reqUirernents    ill


the most recent    Interim  Operating  Order.   If an   individual, I have informed  the petitioner that [he  or she]  may  ap    d   rider     chapter  7. 1 1. 1 2 or 1 3

of Title I 1, United States Code, and have explained the relief available un

 DATED:                                   ;L   -0-@       nc)
                                                                                                                     H
                                                                                                                         "o                                  01,>4""-
                                                                                                                                       E. C a m p b e I 1 5 1 6
                                                                                                                                                    Attorne@rfbr    Debtor(s)
                                                                                                                     I    S. Alma School
                                                                                                                         81   1
                                                                                                                                                           Road,    Suite 225
                                                                                                                     Mesa, AZ 8521 0
                                                                                                                    480-839-4828                 Fax:480-897-1461

                                                                                                                   Exhibit         I



                                                                  (FILE        ORIGINAL            WITH    COURT.        DO NOT FILE ELECTRONICALLY)




Software
                      Case1996-2009
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                            2:10-bk-02865-RTB
                                    Best Case Solutions,
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